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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   QUINTIN-JOHN D’AGIRBAUD, III,                   CIVIL NO. 18-00021 JMS-WRP

                       Plaintiff,                  ORDER REFERRING CASE TO
                                                   THE CIVIL PRO BONO PANEL
         vs.

   SARAH ALANZO, ET AL.,

                       Defendants.


         ORDER REFERRING CASE TO THE CIVIL PRO BONO PANEL

               The Court determines that this case is suitable for the limited

  appointment of pro bono counsel and REFERS this case to the Civil Pro Bono

  Panel for selection of pro bono counsel. See Rule 3(A) of the Rules for Civil Pro

  Bono Panel for the United States District Court for the District of Hawaii (Panel

  Rules). This referral is for the limited and confined purpose of assisting Plaintiff

  for: (1) the final pretrial conference, currently set for November 4, 2019, and

  (2) settlement negotiations and a settlement conference or conferences to be set on

  the same day and/or following the final pretrial conference.

               After the Civil Pro Bono Coordinator secures pro bono counsel for

  Plaintiff, the Pro Bono Coordinator will notify the Clerk of the Court, and the

  Clerk shall enter a Notice of Appointment. See Panel Rule 3(C). After the pro

  bono counsel provides a letter accepting appointment, the Court will issue an Order
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  Appointing Pro Bono Representation in this action. See Panel Rule 3(D). Pro

  bono counsel, after accepting appointment, must obtain and file notice of a letter of

  consent from Plaintiff. See Panel Rule 3(E). If a letter cannot be obtained, then

  pro bono counsel shall file a notice of his/her efforts and inability to obtain the

  letter of consent and the Court will determine if further action is appropriate. See

  id.

               IT IS SO ORDERED.

               DATED, HONOLULU, HAWAII, OCTOBER 10, 2019.




  D’AGIRBAUD vs. ALANZO, ET AL.; CIVIL NO. 18-00021 JMS-WRP; ORDER
  REFERRING CASE TO THE CIVIL PRO BONO PANEL
